 Case 4:21-cv-01236-O Document 276 Filed 05/01/24                  Page 1 of 4 PageID 7999



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
____________________________________
                                       )
NAVY SEALS 1-3, et al.                 )
                                       )
                      Plaintiffs,      )
                                       )
              v.                       )   Civil Action No. 4:21-cv-01236-O
                                       )
LLOYD J. AUSTIN III, in his official   )
capacity as United States              )
Secretary of Defense, et al.,          )
                                       )
                      Defendants.      )
___________________________________ )

                                        JOINT REPORT

       On March 11, 2024, the Court issued an order requiring the parties to submit a joint

mediation report that informs the Court whether this case has been settled by agreement of the

parties. ECF No. 268. The parties attended mediation with Magistrate Judge Cureton on April 3,

2024 and have had additional conversations both with Judge Cureton and amongst themselves

since then. On April 10, 2024, the Court granted a two-week stay to permit the parties to continue

these discussions. ECF No. 273. On April 25, 2024, the Court granted a further one-week stay to

permit the parties to continue negotiations. ECF No. 275.

       The parties have now reached an agreement in principle on terms that will be memorialized

in a Proposed Settlement Agreement which, subject to formal final approval by the Department of

Justice, will be filed for the Court’s review and preliminary approval. Counsel are currently

working on drafting the Proposed Settlement Agreement, the content of class notices, and a motion

for preliminary approval of the Class Settlement. Thus, the parties respectfully request that the

Court vacate the discovery deadlines and extend the stay for 30 days to allow for these tasks to be

completed and for the required government approval of the Proposed Settlement Agreement

                                                1
 Case 4:21-cv-01236-O Document 276 Filed 05/01/24                  Page 2 of 4 PageID 8000



(which Defendants’ counsel estimates will take two weeks). The parties propose that by the end of

the 30-day stay, they will either file the appropriate motion and proposed agreement, or the parties

will file another joint status report informing the Court of the status of these tasks and including

an explanation for any delay.

Dated: May 1, 2024                            Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General
                                              Civil Division

                                              JOSHUA E. GARDNER
                                              Special Counsel

                                              /s/ Andrew E. Carmichael
                                              ANDREW E. CARMICHAEL
                                              AMY POWELL
                                              Senior Trial Counsel
                                              LIAM C. HOLLAND
                                              Trial Attorney
                                              United States Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street, N.W.
                                              Washington, D.C. 20005
                                              Tel: (202) 514-4964
                                              Email: liam.c.holland@usdoj.gov

                                              Counsel for Defendant


 KELLY J. SHACKELFORD                         /s/ Heather Gebelin Hacker
   Texas Bar No. 18070950                     HEATHER GEBELIN HACKER
 JEFFREY C. MATEER                              Texas Bar No. 24103325
   Texas Bar No. 13185320                     ANDREW B. STEPHENS
 HIRAM S. SASSER, III                           Texas Bar No. 24079396
   Texas Bar No. 24039157                     HACKER STEPHENS LLP
 DAVID J. HACKER                              108 Wild Basin Road South, Suite 250
   Texas Bar No. 24103323                     Austin, Texas 78746
 Danielle A. Runyan                           Tel.: (512) 399-3022
  Texas Bar No: 24134548                      heather@hackerstephens.com
 Holly M. Randall                             andrew@hackerstephens.com
  Texas Bar No. 24128002
 FIRST LIBERTY INSTITUTE                      Counsel for Plaintiffs

                                                 2
Case 4:21-cv-01236-O Document 276 Filed 05/01/24   Page 3 of 4 PageID 8001



2001 W. Plano Pkwy., Ste. 1600
Plano, Texas 75075
Tel: (972) 941-4444
jmateer@firstliberty.org
hsasser@firstliberty.org
dhacker@firstliberty.org
drunyan@firstliberty.org
hrandall@firstliberty.org




                                    3
 Case 4:21-cv-01236-O Document 276 Filed 05/01/24                Page 4 of 4 PageID 8002



                              CERTIFICATE OF SERVICE

       I certify that on May 1, 2024, this document was served through the Court’s CM/ECF

Document Filing System upon all counsel of record.

                                                     /s/ Heather Gebelin Hacker
                                                     HEATHER GEBELIN HACKER




                                             4
